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  In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 21-2240V



 FRANCES C. NWOKORO,
                                                              Chief Special Master Corcoran
                           Petitioner,
 v.                                                           Filed: January 15, 2025

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                          Respondent.


Jonathan Joseph Svitak, Shannon Law Group, P.C., Woodridge, IL, for Petitioner.

Camille Jordan Webster, U.S. Department of Justice, Washington, DC, for Respondent.


                               DECISION ON JOINT STIPULATION1

       On December 1, 2021, Frances C. Nwokoro filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”), a defined Table injury, after receiving an influenza (“flu”)
vaccine on December 31, 2020. Petition at 1, ¶¶ 2, 16, 22 Stipulation, filed Jan. 14, 2025,
¶¶ 1-2, 4. Petitioner further alleges that she received the vaccine within the United States,
that she suffered the residual effects of the SIRVA for more than six months, and that
neither she nor any other party has filed a civil action or received compensation for her
SIRVA, alleged as vaccine caused. Petition at ¶¶ 2, 16, 19-20; Stipulation at ¶¶ 3-5.
“Respondent denies that [P]etitioner sustained a SIRVA Table injury; denies that the flu

1 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access .

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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vaccine caused [P]etitioner’s alleged SIRVA, or any other injury; and denies that
[P]etitioner’s current condition is a sequela of a vaccine-related injury.” Stipulation at ¶ 6.

       Nevertheless, on January 14, 2025, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $25,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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                           IN THE UNITED STATES COURT OF FEDERAL CLAJMS
                                     OFFICE OF SPECIAL MASTERS


           FRANCES NWOKORO,

                                  Petitioner,

           v.                                                     No. 2 I -2240V
                                                                  Chief Special Master Corcoran
           SECRETARY OF HEALTH AND                                ECF
           HUMAN SERVICES,

                                  Respondent.


                                                    STIPULATION

                  The parties hereby stipulate to the following matters:

                   1.     Frances Nwokoro ("petitioner") filed a petition for vaccine compensation under

           the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine

           Program''). The petition seeks compensation for injuries allegedly related to petitioner's receipt

           of the influenza ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the

           "Table"), 42 C.F.R. § 100.3(a).

                  2.      Petitioner received a flu vaccination on December 31, 2020.

                  3.      The flu vaccine was administered within the United States.

                  4.      Petitioner alleges that she sustained a Table shoulder injury related to vaccine

           administration ("SIRVA") within the time period set forth in the Table following administration

           of the vaccine. Petitioner further alleges that she experienced the residual effects of this

           condition for more than six months.

                  5.      Petitioner represents that there has been no prior award or settlement of a civil

           action for damages on her behalf as a result of her condition.




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                 6.      Respondent denies that petitioner sustained a SIRVA Table injury; denies that the

          flu vaccine caused petitioner's alleged SIRVA, or any other injury; and denies that petitioner's

          current condition is a sequela of a vaccine-related injury.

                 7.      Maintaining their above-stated positions. the parties nevertheless now agree that

          the issues between them shall be settled and that a decision should be entered awarding the

          compensation described in paragraph 8 of this Stipulation.

                 8.      As soon as practicable after an entry ofjudgment reflecting a decision consistent

          with the tenns of this Stipulation, and after petitioner has filed an election to receive

          compensation pursuant to 42 U.S.C. § 300aa-21(a)(I), the Secretary of Health and Hwnan

          Services will issue the following vaccine compensation payment:

                 A lump sum of $25,000.00, in the form of a check payable to petitioner. This
                 amount represents compensation for all damages that would be available under 42
                 U.S.C. § 300aa-15(a).

                 9.      As soon as practicable after the entry ofjudgment on entitlement in this case, and

          after petitioner has filed both a proper and timely election to receive compensation pursuant to

          42 U.S.C. § 300aa-2l(a)(l), and an application, the parties will submit to further proceedings

          before the special master to award reasonable attorneys• fees and costs incurred in proceeding

          upon this petition.

                  10.    Petitioner and her attorney represent that compensation to be provided pursuant to

          this Stipulation is not for any items or services for which the Program is not primarily liable

          under 42 U.S.C. § 300aa- 15(g), to the extent that payment has been made or can reasonably be

          expected to be made under any State compensation programs, insurance policies, Federal or

          State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

          § 1396 et seq.)}, or by entities that provide health services on a pre-paid basis.




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                  1 J.    Payment made pursuant to paragraph 8 and any amowits awarded pursuant to

          paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

          to the availability of sufficient statutory funds.

                  12.     The parties and their attorneys further agree and stipulate that, except for any

          award for attorneys' fees, and litigation costs, and past unreimbursable expenses, the money

          provided pursuant to this Stipulation will be used solely for the benefit of petitioner as

          contemplated by a strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the

          conditions of 42 U.S.C. § 300aa-l S(g) and (h).

                  13.     In return for the payments described in paragraphs 8 and 9, petitioner, in her

          individual capacity and on behalf of her heirs, executors, administrators, successors or assigns,

          does forever irrevocably and unconditionally release, acquit and discharge the United States and

          the Secretary of Health and Human Services from any and all actions or causes ofaction

          (including agreements, judgments, claims, damages, loss of services, expenses and all demands

          of whatever kind or nature) that have been brought, could have been brought, or could be timely

          brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

          Program, 42 U.S.C. § 300aa-lO et seq., on account of, or in any way growing out of, any and all

          known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

          from. or alleged to have resulted from, the flu vaccination administered on December 31, 2020,

          as alleged by petitioner in a petition for vaccine compensation filed on or about December l,

          2021, and an amended petition filed on January 12, 2024, in the United States Court of Federal

          Claims as petition No. 21-2240V.

                  14.     If petitioner should die prior to entry ofjudgment, this agreement shall be

          voidable upon proper notice to the Court on behalf of either or both of the parties.




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                  15.    If the special master fails to issue a decision in complete confonnity with the

          terms of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity

          with a decision that is in complete confonnity with the tenns of this Stipulation, then the parties'

          settlement and this Stipulation shall be voidable at the sole discretion of either party.

                  16.    This Stipulation expresses a full and complete negotiated settlement of liability

          and damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended,

          except as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of

          the parties hereto to make any payment or to do any act or thing other than is herein expressly

          stated and clearly agreed to. The parties further agree and understand that the award described in

          this Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

          amount of damages, and further, that a change in the nature oftbe injury or condition or in the

          items of compensation sought, is not grounds to modify or revise this agreement.

                  17.    This Stipulation shall not be construed as an admission by the United States or the

          Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged SIRVA

          or any other injury or petitioner's current condition, or that petitioner suffered an injury

          contained in the Vaccine Injury Table.

                  18.    All rights and obligations of petitioner hereunder shall apply equally to

          petitioner's heirs, executors, administrators, successors, and/or assigns.

                                                END OF STIPULATION




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          Respectfully submitted,

          PETITIONER:



          FRANCES NWOKORO


          ATTORNEY OF RECORD                                      AUfHORIZED REPRESENTATIVE
          FOR PETITIONER:                                         OF THE ATIORNEY GENERAL:


                                                                  ' ,4'4&zH. J.&~
                                                                  HEATHER L. PEARLMAN
                                                                                          ~~
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          Woodridge, IL 60517                                     Civil Division
          (312) 578-9501                                          U.S. Department of Justice
                                                                  P.O. Box 146
                                                                  Benjamin Franklin Station
                                                                  Washington, DC 20044-0146


          AUTHORIZED REPRESENTATIVE                               ATTORNEY OF RECORD FOR
          OFTHESECRETARYOFHEALTH                                  RESPONDENT:
          AND HUMAN SERVICES:
           Jeffrey S.          ~t':1nedby.1eff,ey

           Beach -s            Date: 2024.12.30 lS:SS:13
                               --OS'OO'                    for
          CAPT GEORGE REED GRIMES, MD, MPH                        ~         E J. WEBSTER
          Director, Division of Injury                            Trial Attorney
           Compensation Programs                                  Torts Branch
          Health Systems Bureau                                   Civil Division
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          Rockville, MD 208S7                                     Camille.Webster@usdoj.gov



          Dated:   I / f Y/ 25


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